                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


CRAIG CUNNINGHAM                                    )
                                                    )      Case No. 3:16-1673
v.                                                  )      JUDGE SHARP
                                                    )
ALPHA RECOVERY CORPORATION                          )
                                                    )

                                          ORDER

       Pursuant to Plaintiff’s Notice of Voluntary Dismissal with Prejudice (Docket No. 7), this

action is hereby dismissed with prejudice pursuant to Rules 41(a) of the Federal Rules of Civil

Procedure.

       It is so ORDERED.



                                                    ____________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




     Case 3:16-cv-01673 Document 8 Filed 10/31/16 Page 1 of 1 PageID #: 19
